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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 9, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as Exhibit
C and Exhibit D:

    •    Notice of Rescheduled Confirmation Hearing Date and Time [Docket No. 960]

       Furthermore, on February 9, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit E; and via First Class Mail upon the service list attached hereto as
Exhibit F:

    •    Notice of Second Interim Fee Application Request of KPMG LLP for the Period from
         October 1, 2023 to and Including December 31, 2023 [Docket No. 961]

Dated: February 15, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                       Exhibit A
                                                                Core/2002 Service List
                                                               Served via Electronic Mail


               Description                         CreditorName                   CreditorNoticeName                             Email
                                                                                                               daniel.guyder@allenovery.com;
                                                                                                               bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                       Daniel Guyder, Bradley Pensyl,    chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                         Christopher Newcomb, Justin       justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                        Ormand, Joseph Badtke-            joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development                                             Berkow, Jacob R. Herz, Robin      jacob.herz@allenovery.com;
 LLC, and Foxconn EV System LLC           Allen & Overy LLP                  Spigel                            robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                       noah.brumfield@allenovery.com;
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 LLC, and Foxconn EV System LLC           Allen & Overy LLP                  Pearsall, Michael Modesto Gale michael.modestogale@allenovery.com
 Counsel to Applied Medical Resources
 Corp.                                    Austria Legal, LLC                 Matthew P. Austria                maustria@austriallc.com
 Committee of Unsecured Creditors         Barry L. Leonard & Co. Inc.        Attn: Kim Parsons                 kim@trans-machine.com
 Top 30 and Committee of Unsecured        Barry L. Leonard and Company       dba Trans Machine
 Creditors                                Inc.                               Technologies                      Barry@trans-machine.com
 Counsel to Edward Hightower and          Benesch Friedlander Coplan &       Jennifer R. Hoover, Steven L.     jhoover@Beneschlaw.com;
 Adam Kroll                               Aronoff LLP                        Walsh                             swalsh@Beneschlaw.com
 Counsel to Benjamin Hebert and Atri
 Amin on behalf of themselves and
 similarly situated stockholders of                                                                            greg.varallo@blbglaw.com;
 Lordstown Motors Corp. f/k/a             Bernstein Litowitz Berger &        Gregory V. Varallo, Glenn R.      glenn.mcgillivray@blbglaw.com;
 DiamondPeak Holdings Corp.               Grossmann LLP                      McGillivray, Daniel Meyer         daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri
 Amin on behalf of themselves and
 similarly situated stockholders of                                          Jeroen van Kwawegen, Thomas jeroen@blbglaw.com;
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 DiamondPeak Holdings Corp.               Grossmann LLP                      Lowing                          Margaret.Lowing@blbglaw.com
                                                                                                             msawyer@brownrudnick.com;
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 Attorney General of FL (emp                                                                                   citizenservices@myfloridalegal.com;
 operations)                              Florida Attorney General           Attn Bankruptcy Department        oag.civil.eserve@myfloridalegal.com
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                                         Hon Hai Precision Industry Co.,
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 Attorney General of IL (emp operations) Illinois Attorney General           Attn Bankruptcy Department        bankruptcy_notices@ilag.gov




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                                                                Core/2002 Service List
                                                               Served via Electronic Mail


               Description                        CreditorName                   CreditorNoticeName                            Email
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                                        Office of the United States                                          USTPRegion03.WL.ECF@USDOJ.GOV;
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 Amin on behalf of themselves and
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 Lordstown Motors Corp. f/k/a           Pashman Stein Walder Hayden,
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 DiamondPeak Holdings Corp.            Pomerantz LLP                       Adams, Ankita Sangwan          asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
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                                       Securities & Exchange
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                                                                     Exhibit A
                                                              Core/2002 Service List
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               Description                       CreditorName                   CreditorNoticeName                           Email
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 Technologies Ltd.                      Sullivan Hazeltine Allinson LLC    William A. Hazeltine             whazeltine@sha-llc.com
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 Creditors                              Superior Cam Inc                   John Basso                       jmbasso@diversifiedtoolinggroup.com
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 John LaFleur, and Rich Schmidt         Taylor, LLP                        Sean M. Beach, Shane Reil        sreil@ycst.com




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                    Exhibit B
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                                                     Exhibit B
                                            Objecting Party Service List
                                             Served via Electronic Mail

                                     Description    CreditorName      Email
                                  Affected Claimant Rahul Singh  Email Redacted




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                    Exhibit C
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                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



             Description                     CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
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                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
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  operations)                          Michigan Attorney General         Attn Bankruptcy Department       Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
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  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
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  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
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  Official Committee of Equity                                                                                                                                                                                      United
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      Kingdom




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                                                                                                     Exhibit C
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
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  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
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                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




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                    Exhibit D
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                                                                   Exhibit D
                                                          Objecting Party Service List
                                                          Served via First Class Mail

                                           Description    CreditorName     Address1        City State Zip
                                        Affected Claimant Rahul Singh  Address Redacted




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                    Exhibit E
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                                                               Exhibit E
                                                      Fee Application Service List
                                                       Served via Electronic Mail


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 Holders                          Brown Rudnick LLP             Axelrod                     taxelrod@brownrudnick.com
 Counsel to the Official                                        Robert J. Stark, Bennett S. rstark@brownrudnick.com;
 Committee of Equity Security                                   Silverberg, Michael S.      bsilverberg@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Winograd                    mwinograd@brownrudnick.com
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 Holders                          Morris James LLP              Keilson                      bkeilson@morrisjames.com
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 Creditors                        Sanders LLP              Deborah Kovsky-Apap               deborah.kovsky@troutman.com
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 Committee of Unsecured           Sanders LLP              Sean P. McNally                   sean.mcnally@troutman.com
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 and Debtors-in-Possession        White & Case LLP              Kim, RJ Szuba            rj.szuba@whitecase.com
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 Local Co-Counsel for the
 Debtors and Debtors-in-          Womble Bond Dickinson         Donald J. Detweiler,         don.detweiler@wbd-us.com;
 Possession                       (US) LLP                      Morgan L. Patterson          morgan.patterson@wbd-us.com




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                    Exhibit F
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                                                                           Exhibit F
                                                                  Fee Application Service List
                                                                   Served via First Class Mail

                      Description                   CreditorName         CreditorNoticeName    Address1 Address2        City    State Zip
                                              Office of the United                            844 King St
             US Trustee for District of DE    States Trustee Delaware   Benjamin Hackman      Ste 2207    Lockbox 35 Wilmington DE   19801




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